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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: LITHIUM ION BATTERIES ANTITRUST
LITIGATION                                                                               MDL No. 2420



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −6)



On February 6, 2013, the Panel transferred 1 civil action(s) to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 923 F.Supp.2d 1370 (J.P.M.L. 2013). Since that time, 30 additional action(s)
have been transferred to the Northern District of California. With the consent of that court, all such
actions have been assigned to the Honorable Yvonne Gonzalez Rogers.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Rogers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of February 6, 2013, and, with the
consent of that court, assigned to the Honorable Yvonne Gonzalez Rogers.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


   May 13, 2015
                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel
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IN RE: LITHIUM ION BATTERIES ANTITRUST
LITIGATION                                                              MDL No. 2420



                 SCHEDULE CTO−6 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.      CASE CAPTION


FLORIDA SOUTHERN

  FLS      1       15−21627     TracFone Wireless, Inc. v. LG Chemical Ltd. et al
